         Case 2:24-cr-00150-GMN-NJK           Document 19       Filed 07/22/24     Page 1 of 5




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11   Attorneys for the United States

12                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
13

14   UNITED STATES OF AMERICA,                          2:24-cr-00150-GMN-NJK

15                   Plaintiff,

16          v.                                          Stipulation for a Protective Order

17   GARY GERARD TOPOLEWSKI,

18                   Defendant.

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20          The parties, by and through the undersigned, respectfully request that the Court issue

21   an Order protecting from disclosure to the public, or any third party not directly related to

22   this case, any documents, recordings, or other tangible things produced by the Government

23   during discovery, containing personal identifying information and financial records of third

24   parties. The parties state as follows:
         Case 2:24-cr-00150-GMN-NJK             Document 19       Filed 07/22/24      Page 2 of 5




1           1.      An indictment was returned by the grand jury sitting in Las Vegas, in the

2    District of Nevada, in Criminal Case No. 2:24-cr-00150, charging TOPOLEWSKI with

3    three counts of bank fraud, in violation of 18 U.S.C. § 1344(1) & (2), and 2(b), carrying a

4    penalty of a maximum of 30 years’ imprisonment on each count. The Indictment also seeks

5    forfeiture of various assets.

6           2.      The Government desires and intends to produce discovery as soon as

7    possible.

8           3.      The indictment in this case alleges that Defendant TOPOLEWSKI submitted

9    and caused to be submitted false and fraudulent commercial loan applications and

10   supporting materials to financial lenders and financial institutions on behalf of companies

11   that he controlled.

12          4.      The government further alleges in this case that TOPOLEWSKI misused the

13   identity of at least one real person.

14          5.      The discovery is voluminous in this case and includes personal identifying

15   information and financial records of third parties (the “Protected Information”). The

16   “Protected Information” is subject to this protective order. Pursuant to Paragraph 9, below,

17   the “Protected Information” subject to this protective order shall include the designation

18   “PI” or “Subject to Protective Order” on the discovery to differentiate it from that discovery

19   not subject to this protective order.

20          6.      The Government believes this order is necessary as the dissemination of

21   “Protected Information” could endanger the privacy and financial information of the third

22   parties.

23          7.      In order to protect the privacy of the third parties, the parties intend to restrict

24   access of the Protected Information to the following individuals: attorneys for the parties,


                                                     2
         Case 2:24-cr-00150-GMN-NJK             Document 19       Filed 07/22/24      Page 3 of 5




1    and any personnel that the attorneys for all parties consider necessary to assist in performing

2    those attorneys’ duties in the prosecution or defense of this case, including investigators,

3    paralegals, retained experts, support staff, and any other individuals specifically authorized

4    by the Court (collectively, the “Covered Individuals”). The Defendant is not a Covered

5    Individual.

6           8.      The Covered Individuals shall be advised of the Protective Order, and as such

7    without leave of Court, the Covered Individuals shall not:

8                   a.     make copies for, or allow copies of any kind to be made by any other

9    person of the “Protected Information” in this case;

10                  b.     allow any other person to read, listen, or otherwise review the

11   “Protected Information” in this case;

12                  c.     use the “Protected Information” for any other purpose other than

13   preparing to defend against or prosecute the charges in the indictment or any further

14   superseding indictment arising out of this case; or

15                  d.     attach any “Protected Information” to any of the pleadings, briefs, or

16   other court filings except to the extent those pleadings, briefs, or filings are filed under seal

17   or properly compliant with LR IC 6-1.

18          9.      The Protected Information shall be segregated from discovery not containing

19   personal identifying information, and Defendant shall only be permitted to review the

20   Protected Information in the presence of defense counsel who shall retain exclusive

21   possession of the Protected Information.

22          10.     Nothing in this stipulation is intended to restrict the parties’ use or

23   introduction of the “Protected Information” as evidence at trial or support in motion

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         Case 2:24-cr-00150-GMN-NJK            Document 19          Filed 07/22/24   Page 4 of 5




1    practice. Nothing in this stipulation is intended to bar or otherwise restrict counsel from

2    rendering advice to his or her client with respect to the charges in the Indictment.

3           11.     The parties shall inform any person to whom disclosure is made pursuant to

4    this order of the existence and terms of this Court’s order.

5           12.     In the event of an inadvertent disclosure of the Protected Information, the

6    party making or learning of the inadvertent disclosure will immediately:

7                   a.     Notify the person to whom the disclosure was made that it contains

8    Protected Information subject to a Protective Order;

9                   b.     Make all reasonable efforts to preclude dissemination or use of the

10   Protected Information by the person to whom disclosure was inadvertently made;

11                  c.     Notify the other party of the identity of the person to whom the

12   disclosure was made, the circumstances surrounding the disclosure, and the steps taken to

13   ensure against further dissemination or use of the information; and

14                  d.     Notify the Court in writing under seal.

15          13.     The parties reserve the right to seek to modify the terms in this protective order

16   at a later time pursuant to Federal Rule of Criminal Procedure 16(d)(1). Should a reasonable

17   need for this protective order cease to exist, on the grounds other than a Covered Individual

18   or some other person violating or circumventing its terms, the Government will move

19   expeditiously for its dissolution.

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       Case 2:24-cr-00150-GMN-NJK        Document 19       Filed 07/22/24    Page 5 of 5




1        14.   Undersigned counsel for the defense hereby stipulate to this protective order.

2                                              Respectfully submitted,

3                                               GLENN S. LEON
                                                Chief, Fraud Section
4
                                                /s/ Sara Hallmark
5    CRANE POMERANTZ, ESQ.                      SARA HALLMARK
     Counsel for Defendant                      Trial Attorney
6    Gary Gerard Topolewski                     U.S. Department of Justice
                                                Criminal Division, Fraud Section
7
                                                JASON M. FRIERSON
8                                               United States Attorney

9                                               /s/ Richard Anthony Lopez
                                                RICHARD ANTHONY LOPEZ
10                                              Assistant United States Attorney

11

12                                         ORDER

13      IT IS SO ORDERED.
        Dated: July 22, 2024
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15                                         _______________________________________
                                               HONORABLE NANCY J. KOPPE
16                                          UNITED STATES MAGISTRATE JUDGE

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